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                  UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
________________________________________________________________________

CHRISTIAN BRUCKNER, et al.,

                Plaintiffs,                 Case No. 8:22-CV-1582-KKM-SPF
   v.

JOSEPH R. BIDEN, JR., et al.,

              Defendants.
________________________________________________________________________

PLAINTIFFS’ RESPONSE IN OPPOSITION TO MOTION TO DISMISS
________________________________________________________________________

        Defendants seek to dismiss this lawsuit because Plaintiffs have not

“submitted a single bid on a contract receiving funds from the Infrastructure

Act.” Doc. 31:9. This is no basis for a motion to dismiss. In 1993, the United

States Supreme Court dispelled the notion that a federal contractor must

somehow bid on a contract, and be rejected, before it can file a lawsuit

challenging a racial quota. In Northeast Florida Chapter of Associated General

Contractors, the Court wrote: “[t]he ‘injury in fact’ . . . is the denial of equal

treatment resulting from the imposition of the barrier, not the ultimate

inability to obtain the benefit.” 508 U.S. 656, 666 (1993). Accordingly, “a party

challenging a set-aside program . . . need only demonstrate that it is able and

ready to bid on contracts and that a discriminatory policy prevents it from

doing so on an equal basis.” Id. Plaintiff Christian Bruckner alleges he is a


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federal contractor, operating through his          business,    Plaintiff Project

Management Corporation, and together, Plaintiffs are “qualified, willing, and

able to be a contractor and subcontractor under the Infrastructure Act.” Doc.

1:¶ 6; see also id. at ¶¶ 7, 23–25, 35. These allegations are sufficient to defeat

a motion to dismiss.

      Moreover, Defendants also allege that their race- and gender-based

quotas meet strict scrutiny. Doc. 31:15-16. But whether strict scrutiny is

satisfied is not appropriate inquiry for the motion to dismiss stage, where

Plaintiffs have clearly alleged a constitutional violation and that Defendants

have no justification for this discriminatory program. Doc. 1:¶¶ 28-37. And as

explained above, Defendants’ other arguments, such as ripeness and improper

parties, are similarly unpersuasive and ought to be rejected.

      The motion to dismiss should be denied.

                                    ARGUMENT

I.    The Court Has Subject Matter Jurisdiction over Plaintiffs’
      Claim.

      A. Plaintiffs Have Alleged an Injury in Fact.

      Injury in fact has been described as the “first and foremost” of standing's

three elements. Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). A plaintiff

establishes an injury in fact by showing that he “suffered an invasion of a

legally protected interest that is concrete and particularized and actual or



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imminent, not conjectural or hypothetical.” Spokeo, Inc., 578 U.S. at 339

(internal quotation marks omitted; citation omitted). As the Supreme Court

has recognized, “a racial classification causes ‘fundamental injury’ to the

‘individual rights of a person.’” Shaw v. Hunt, 517 U.S. 899, 908 (1996) (citation

omitted); see also Smith v. Howard Univ., No. 21-CV-00920, 2022 WL 1658848,

at *3 (D.D.C. May 25, 2022) (“if race discrimination ‘is a fundamental injury to

the individual rights of a person,’ gender discrimination must be as well.”).

      In Northeastern Florida Chapter, an association of general contractors

sued the City of Jacksonville in this Court challenging a quota “requir[ing] that

10% of the amount spent on city contracts be set aside each fiscal year for so-

called ‘Minority Business Enterprises.’” 508 U.S. at 658. As Defendants do

here, the City claimed the contractors did not have standing because they had

not demonstrated that any member “would have bid successfully for any of

these contracts.” Id. at 660. Despite the 11th Circuit’s determination that there

was no contractor standing, this Court got the answer correct, ruling for the

contractors. Reversing the 11th Circuit, Justice Thomas, writing for the Court,

explained that in an equal protection case, “[t]he ‘injury in fact’ . . . is the denial

of equal treatment resulting from the imposition of the barrier, not the

ultimate inability to obtain the benefit.” Ne. Fla. Chapter, 508 U.S. at 666.

Accordingly, “a party challenging a set-aside program . . . need only




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demonstrate that it is able and ready to bid on contracts and that a

discriminatory policy prevents it from doing so on an equal basis.” Id.

      Plaintiffs have alleged that despite being “qualified, willing, and able to

be a contractor and subcontractor under the Infrastructure Act,” Doc. 1:¶¶ 6-

7, they are being treated differently by Defendants and denied equal access to

government contracts based on race and gender. This unequal treatment flows

from the Infrastructure Act’s 10% race-and-gender quota in which at least $37

billion is reserved for certain small business beneficiaries, including “socially

disadvantaged” women and certain specified minorities. Doc. 1:¶¶ 15, 18-19,

21. The existence of a possible yet unclear petition process for defeating the

government’s presumption of not being a “socially disadvantaged individual”

requires, at a minimum, “substantial evidence” proving a complex set of

factors; and accordingly, does nothing to eliminate, and in fact only further

highlights, Plaintiffs’ inability to compete on unequal footing for contracts

under the Infrastructure Act in the first place. 13 C.F.R. § 124.103(c) & (d).

Likewise, Defendants’ attempt to draw distinctions between what the

Infrastructure Act “authorizes” as opposed to “mandates” or “directs” does

nothing to alter the Infrastructure Act’s flagrant race and gender biases.

Contrary to Defendants’ contention, Plaintiffs need not demonstrate that they

would have submitted a bid or received a single contract under the

Infrastructure Act, and Plaintiffs certainly are not required to “exhaust their


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administrative remedies and lose any appeals” after bidding and losing a

contract in order to allege an injury in fact. Doc. 31:9-10. Indeed, Defendants’

proposed test for injury in fact would turn equal protection jurisprudence on

its head. However, this need not be the case: the “obstacle to [Plaintiff’s]

candidacy” in the first place is enough. Ne. Fla. Chapter, 508 U.S. at 665. For

“[w]hen the government erects a barrier that makes it more difficult for

members of one group to obtain a benefit than it is for members of another

group, a member of the former group seeking to challenge the barrier need not

allege that he would have obtained the benefit but for the barrier in order to

establish standing.” Id. at 666.

      B. Plaintiffs’ Injury is Likely to be Redressed by a Favorable
         Judicial Decision.

      Under the redressability requirement of standing, a plaintiff’s injury in

fact must be “likely to be redressed by a favorable judicial decision.” Spokeo,

Inc., 578 U.S. at 338.

      Plaintiffs are being denied equal access to compete for government

contracts based on race and gender. Plaintiffs have asked the Court to issue

declaratory and injunctive relief addressing the unconstitutional race- and

gender-based classifications under Section 11101(e)(3) of the Infrastructure

Act and Defendants’ application thereof. Doc. 1:11-12. Since the injury in an

equal protection case is the denial of equal treatment itself, a legal victory



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would unquestionably redress the “fundamental injury” to the “individual

rights of a person” that racial and gender classifications cause. Ne. Fla.

Chapter, 508 U.S. at 666; Shaw, 517 U.S. at 908; Smith, 2022 WL 1658848, at

*3.

      Defendants’       attempt      to    distinguish      between       “economically

disadvantaged individuals” and “socially disadvantaged individuals” under the

Infrastructure Act to undermine Plaintiffs’ straightforward satisfaction of the

redressability requirement is to no avail. Under federal regulations, “socially

disadvantaged individuals” encompass “those who have been subjected to

racial or ethnic prejudice or cultural bias within American society because of

their identities as members of groups and without regard to their individual

qualities.” 13 C.F.R. § 124.103(a). Meanwhile, “[e]conomically disadvantaged

individuals are socially disadvantaged individuals whose ability to compete in

the free enterprise system has been impaired due to diminished capital and

credit opportunities as compared to others in the same or similar line of

business who are not socially disadvantaged.” 13 C.F.R. § 124.104(a).

(emphasis added). 1 Accordingly, for purposes of the Infrastructure Act, if an

individual is not “socially disadvantaged” according to the government’s

preferences for certain racial or ethnic groups, he cannot be “economically



      1   Women are deemed “socially and economically disadvantaged individuals” under the
Infrastructure Act. 49 U.S.C. § 47113(a)(2).


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disadvantaged” either. Plaintiff Bruckner is not a “socially and economically

disadvantaged individual” because he does not fit into any of the racial and

ethnic categories. Doc. 1:¶ 24. Therefore, Defendants’ recitation of the

Infrastructure Act’s requirement for the expenditure of funds “through small

business concerns owned and controlled by socially and economically

disadvantaged individuals,” Doc. 31:11-13, only serves to affirm Plaintiffs’

redressable injury: Plaintiffs will be unable to compete equally for all contracts

available under the Infrastructure Act, specifically $37 billion in set asides for

women and certain racial groups, unless the Court enjoins Defendants.

      C. Plaintiffs’ Claims Are Ripe for Review.

      Determining whether administrative action is ripe for judicial review

involves a two-prong inquiry concerning (1) the fitness of the issues for judicial

decision and (2) the hardship to the parties of withholding court consideration.

Nat'l Park Hosp. Ass'n v. Dep't of Interior, 538 U.S. 803, 808 (2003) (citing

Abbott Lab'ys v. Gardner, 387 U.S. 136, 149 (1967)). As Defendants’ aptly note,

this inquiry, in turn, considers several guiding factors: (1) whether delayed

review would cause hardship to the plaintiffs; (2) whether judicial intervention

would inappropriately interfere with further administrative action; and (3)

whether the courts would benefit from further factual development of the

issues presented. Pittman v. Cole, 267 F.3d 1269, 1278 (11th Cir. 2001) (citing

Ohio Forestry Ass'n, Inc. v. Sierra Club, 523 U.S. 726, 733 (1998)).


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        Similar to Defendants’ arguments with respect to certain elements of the

standing inquiry, Defendants’ arguments regarding ripeness ultimately refuse

to acknowledge the nature of harm sustained by Plaintiff Bruckner and other

qualified contractors like him. Defendants argue that Plaintiffs’ claims are not

ripe for review “because they have not alleged that they have submitted a bid

to a prime contractor for a sub-contract on a project that receives funding under

the Infrastructure Act.” Doc. 31:14. As a result, Defendants argue, “delayed

review would not cause any hardship to Plaintiffs” under the first Pittman

factor. Id. However, this contention (and the connotation it carries that there

is no injury) mischaracterizes equal protection cases in which the denial of

equal treatment to Plaintiffs and others similarly situated is itself the injury,

here incurring at a minimum, from the point of the government’s consideration

of individuals for contracts under the Infrastructure Act through such time as

when contracts may be awarded. 2

        Moreover, in an apparent about-face, Defendants ask this Court to

consider the second Pittman factor in a manner diametrically opposed to

Defendants arguments respecting the first Pittman factor. Specifically,

Defendants claim that Plaintiffs are not being subjected to hardship due to the


        2  If Plaintiff Bruckner was a woman or a non-white member of the government’s preferred
racial or ethnic groups, then Plaintiffs would be considered on equal footing with such other applicants.
However, the government will not even consider Plaintiffs, who are otherwise qualified, in the same
manner in which these other individuals are considered because of Plaintiff Bruckner’s race and
gender.


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race- and gender-based classifications imposed by the Infrastructure Act, all

the while acknowledging that “[u]nder the Infrastructure Act, roads and

transit projects currently are being funded and built,” and “[c]ontract bids are

being submitted to state and local DOT-fund recipients.” Doc. 31:14. However,

Defendants cannot have it both ways: since the implementation of the

Infrastructure Act is “currently” underway, injury and hardship to Plaintiffs

and those similarly-situated is necessarily ongoing. Further, as Plaintiffs seek

injunctive and declaratory relief regarding the racial and gender classifications

imposed under the Infrastructure Act, this case is purely a matter of law based

on undisputed facts, which weighs against Defendants on both the second and

the third Pittman factors. No further fact-finding is of any import or has any

relevant bearing on the racial and gender classifications declared and applied

under the Infrastructure Act. As such, judicial intervention does not

inappropriately interfere with further administrative action where such action

is inherently unconstitutional on its face and as applied.

II.   Plaintiffs’ Complaint States a Claim for Race and Gender
      Discrimination in Violation of the United States Constitution.

      Defendants move to dismiss this case pursuant to Rule 12(6)(b). Yet even

after recognizing that the determination of a motion to dismiss under this

standard requires a court to “accept all factual allegations in a complaint as

true and take them in the light most favorable to the plaintiff,” Doc. 31:5



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 (quoting Erickson v. Pardus, 551 U.S. 89, 94 (2007)), Defendants do not accept

 Plaintiffs’ allegations as true. Instead, Defendants have endeavored to defend

 the race- and gender-based classifications under the Infrastructure Act as an

 appropriate “affirmative action program”. Doc. 31:15, 17. While such

 arguments may be appropriate at the summary judgment stage, they are not

 appropriate here. “The purpose of a motion to dismiss is to test the sufficiency

 of the complaint, not to decide the merits.” Triad Assocs., Inc. v. Chicago Hous.

 Authority, 892 F.2d 583, 586 (7th Cir. 1989). See also Quality Foods de Centro

 Am., S.A. v. Latin Am. Agribusiness Dev. Corp., S.A., 711 F.2d 989, 995 (11th

 Cir. 1983) (“the threshold of sufficiency that a complaint must meet to survive

 a motion to dismiss for failure to state a claim is exceedingly low.”); Slakman

 v. Admin. Comm. of Delta Air Lines, Inc., 660 F. App'x 878, 880–81 (11th Cir.

 2016) (district court did not review motion to dismiss incorrectly by evaluating

 the merits of the claim rather than the sufficiency of the complaint). To survive

 a motion to dismiss, a plaintiff’s complaint must simply contain “sufficient

 factual matter, accepted as true, to state a claim to relief that is plausible on

 its face.” Bey v. City of Tampa Code Enf't, 607 F. App'x 892, 895 (11th Cir.

 2015) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). In turn, “[f]or a claim

 to be facially plausible, the complaint must plead ‘factual content that allows

 the court to draw the reasonable inference that the defendant is liable for the

 misconduct alleged.”’ Id. Plaintiffs’ complaint easily passes this test of


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 sufficiency because it properly alleges a violation of the Fifth Amendment to

 the United States Constitution.

       Plaintiffs have alleged that they are being denied equal access to

 government contracts under the Infrastructure Act based on race and gender.

 E.g., Doc. 1:¶¶ 2, 6-7, 23-26. Likewise, Plaintiffs have alleged that Defendants

 have not satisfied the high bar the Constitution demands in interpreting and

 implementing the Infrastructure Act’s discriminatory race- and gender-based

 classifications through the demonstration of a compelling governmental

 interest that is narrowly tailored to achieve that interest. E.g., Doc. 1:¶¶ 5, 30-

 33, 36-37. Plaintiffs’ complaint as alleged states a claim for relief.

       Defendants’ attempt to highlight a few cases regarding other Circuit

 court rulings as to other laws relating to the Department of Transportation’s

 Disadvantaged Business Enterprise program, Doc. 31:15-16, does nothing to

 disturb or in any way attenuate the sufficiency of Plaintiffs’ allegations that

 they are being denied equal access to government contracts under the

 Infrastructure Act. Even if the Court were to look past the allegations in the

 Complaint, and then consider all of the evidence submitted by Defendants in

 support of its purported “affirmative action program,” the program would still

 fail strict scrutiny for the reasons explained in Plaintiffs’ briefings on the

 motion for preliminary injunction. See Doc. 14 & 17. For example, among other

 reasoning set forth in Plaintiffs’ briefings, Plaintiffs have not only identified


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 certain flaws in Defendants’ relied upon data and statistical studies used in

 justification of Defendants’ program but also contend that Defendants have

 neither established a compelling interest through the identification of specific

 showings of intentional past discrimination in which the government had a

 hand, nor narrowly tailored the purported remedy. See id.

        Accordingly, Plaintiffs state a plausible claim of discrimination in

 violation of the Fifth Amendment because, accepted as true, Plaintiff Bruckner

 has alleged that his race and gender are “barriers” to competing for contracts

 under the Infrastructure Act, see Ne. Fla. Chapter, 508 U.S. at 666, and that

 the government’s interpretation and implementation of this discriminatory

 program do not pass constitutional muster. See Doc. 1:¶¶ 23-25, 27-37; Doc. 14

 & 17. These allegations are sufficient to meet the “exceedingly low” threshold

 required to defeat a motion to dismiss. Quality Foods de Centro Am., S.A., 711

 F.2d at 995.

 III.   The Existing Parties Are Properly Named in This Lawsuit.

    A. There Is No Failure to Name an Indispensable Party.

        Determining the proper joinder of parties requires a court to first

 ascertain under the standards of Rule 19(a) whether the person in question is

 one who should be joined if feasible. Challenge Homes, Inc. v. Greater Naples

 Care Ctr., Inc., 669 F.2d 667, 669 (11th Cir. 1982). In determining whether the

 party in question “should be joined,” “pragmatic concerns, especially the effect


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 on the parties and the litigation control.” Focus on the Fam. v. Pinellas

 Suncoast Transit Auth., 344 F.3d 1263, 1280 (11th Cir. 2003) (citing Challenge

 Homes, Inc., 669 F.2d 667, 669 (11th Cir.1982)). Included in this consideration

 is whether the court can accord complete relief among existing parties and

 whether the absence of the party in question will impair the absent party from

 protecting its interest relating to the subject of the action, or leave an existing

 party subject to a substantial risk of incurring multiple or inconsistent

 obligations. Id. Fed.R.Civ.P. 19(a)(1).

       Here, Defendants argue that the absence of a “state or local agency that

 receives [funding under the Infrastructure Act]” is “fatal” to Plaintiffs’ equal

 protection claim because state and local agencies that receive Infrastructure

 Act funding must administer their own programs for disadvantaged small

 businesses in accordance with federal law. 3 Doc. 31:23. The federal

 Infrastructure Act sets eligibility for a disadvantaged small business according

 to racial and gender-based classifications, which state and local agency fund

 recipients must in turn abide by in administering their programs. However, in

 this case, Plaintiffs challenge and seek relief from federal law and Defendants

 interpretations and implementations thereof. State or local action may often

 be taken independent of federal law; Plaintiffs do not challenge this



       3  See generally 49 C.F.R. pt. 26 regarding Participation by Disadvantaged Business
 Enterprises in Department of Transportation Financial Assistance Programs.


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 characteristic of federalism here. Rather, since Plaintiffs’ challenges squarely

 concern federal Defendants’ violations of the United States Constitution, this

 case concerns only the existing parties; no state or local agency recipient of

 funds under the Infrastructure Act is either implicated or appropriate for

 disposing this action. See Jeffries v. Georgia Residential Fin. Auth., 678 F.2d

 919, 928-29 (11th Cir. 1982) (district court correctly concluded against a joinder

 where plaintiffs did not challenge the propriety of absent landlord owners’

 actions or conduct); see also Fla. Panthers v. Collier Cnty., Fla., No.

 213CV612FTM29DNF, 2016 WL 1394328, at *16 (M.D. Fla. Apr. 8, 2016)

 (“Plaintiffs do not seek any relief from the State of Florida or the [Fish and

 Wildlife Service] . . . this portion of the motion to dismiss is denied.”); but cf.

 Boles v. Greeneville Housing Authority, 468 F.2d 476, 478-80 (6th Cir. 1972)

 (an agency is a necessary party when legality of its actions is at issue). To the

 extent this Court grants the requested declaratory and injunctive relief

 addressing the unconstitutional race- and gender-based classifications under

 Section 11101(e)(3) of the Infrastructure Act, and prohibits Defendants from

 imposing the discriminatory provisions outlined in federal law, Plaintiffs

 would receive complete relief.




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    B. President Biden and Mitchell Landrieu Are Proper Parties in
       This Lawsuit.

       Defendants ask this court to dismiss President Biden and Mitchell

 Landrieu in their official capacities as defendants in this case. While

 Defendants recognize that “an official-capacity suit is, in all respects other

 than name, to be treated as a suit against the entity,” Doc. 31:25 (quoting

 Kentucky v. Graham, 473 U.S. 159, 166 (1985)), they offer no reasoning or

 justification as to why this Court should consider removing the named

 defendants and substituting the United States. The fact that this is

 Defendants’ preference provides a flimsy basis indeed when Plaintiffs have

 named President Biden and Mitchell Landrieu, in their official capacities,

 because of these actors’ personal involvement in the implementation of the

 Infrastructure Act. Doc. 1:¶¶ 8-9. There is no need to correct something that

 does not require fixing, particularly where Plaintiffs have alleged their basis

 for including the at issue defendants in their official capacities in the first

 place. The Supreme Court has repeatedly considered and ruled on suits against

 the President and White House officials. See, e.g., Biden v. Texas, 142 S.Ct.

 2528 (2022); Biden v. Missouri, 142 S.Ct. 647 (2022). And this Court has

 certainly entertained lawsuits against the President and White House officials

 without concern for their status as parties. See, e.g., Florida v. Nelson,

 8:21cv2524, Doc. 40 (M.D. Fla. Dec. 30, 2021) (enjoined officials include



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 President and officials of the Office of Management and Budget, which is part

 of the White House).

                                 CONCLUSION

       Defendants’ motion to dismiss should be denied.

       Dated: October 18, 2022

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                          CERTIFICATE OF SERVICE

       I certify that, on October 18, 2022, I electronically filed a copy of the

 foregoing document with the Clerk of Court via CM/ECF, which will send a

 notice of electronic filing to all counsel of record.


                                                /s/ Daniel P. Lennington




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